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                              United States District Court, Northern District of Illinois

     Name of Assigned Judge        Samuel Der-Yeghiayan           Sitting Judge if Other
        or Magistrate Judge                                        than Assigned Judge

   CASE NUMBER                              12 C 6401                         DATE              10/29/2012
            CASE                                 Margaret Beyers vs. Village of Hawthorn Woods, The
            TITLE

  DOCKET ENTRY TEXT

  For the reasons stated below, Plaintiff’s motion to remand [12] is granted. The instant action is hereby
  ordered remanded back to the Nineteenth Judicial Circuit Court, case number 11 L 579, forthwith. All
  pending dates before this Court are stricken. Civil case terminated.




  O[ For further details see text below.]                                                            Docketing to mail notices.




                                                         STATEMENT
               This matter is before the court on Plaintiff Margaret Beyers’ (Beyers) motion to remand. Beyers

  alleges that on July 7, 2012, as she was leaving the Hawthorn Woods Aquatic Center in the Village of

  Hawthorn Woods, Illinois (Village), an obese woman (Woman) with a cane was entering the building.

  Beyers contends that, to help the Woman, she held the door open for the Woman. Beyers claims that the

  concrete walkway leading up to the door into the building had sunken and that, due to the depression, the

  Woman tripped as she entered the building. Beyers claims that the Woman fell into Beyers, knocking Beyers

  to the ground and causing her to sustain injuries. Beyers brought an action in state court, and the Village

  subsequently removed the action to federal court. Beyers now moves to remand the action back to state

  court.

               In the notice of removal, the Village contends that this court has federal question subject matter

  jurisdiction based on the Village’s belief that Beyers is bringing a claim under the Americans with

  Disabilities Act (ADA), 42 U.S.C. § 12101 et seq. (Not. Rem. Par. 6-7). Beyers contends that she is not

  bringing a claim under the ADA in this action. It is Beyers, as the Plaintiff, not the Village, as the Defendant,

  who controls what claims will be pursued in this action. Beyers is master of her own complaint. However,

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 there was justifiable confusion on the part of the Village in this instance, since Beyers’ attorney inartfully

 labeled a count in her second amended complaint, filed in state court, as a “Violation of the Americans with

 Disabilities Act.” (SA Compl. 4). To remove any ambiguity, this court provided Beyers with an opportunity

 to amend her complaint, and Beyers has removed that heading from her complaint.

         The Village argues that even without the heading, Beyers is basing her claims on the ADA, and that

 therefore this court has subject matter jurisdiction. However, it is apparent from the substance of the claims

 brought by Beyers that she is not bringing a claim under the ADA. Beyers is pursuing a state law claim for

 negligence in this case. To prove her negligence claim, Beyers will need to show that the Village breached a

 duty owed to Beyers, and in order to do that, Beyers will need to show what standard of care is applicable to

 the facts in this case. See, e.g., Blood v. VH-1 Music First, 668 F.3d 543, 546 (7th Cir. 2012); First

 Springfield Bank & Trust v. Galman, 720 N.E.2d 1068, 1071 (Ill. 1999). The portions of the ADA and its

 regulations that Beyers references provide protections for disabled persons, such as the Woman in this case,

 to ensure that buildings are accessible to disabled persons. See 28 C.F.R. § 35.151 (providing that “[e]ach

 facility or part of a facility constructed by, on behalf of, or for the use of a public entity shall be designed and

 constructed in such manner that the facility or part of the facility is readily accessible to and usable by

 individuals with disabilities, if the construction was commenced after January 26, 1992”); Tennessee v. Lane,

 541 U.S. 509, 532 (2004)(explaining that pursuant to 28 C.F.R. § 35.151 “[i]n the case of facilities built or

 altered after 1992, the regulations require compliance with specific architectural accessibility standards”);

 Parker v. Universidad de Puerto Rico, 225 F.3d 1, 4 (1st Cir. 2000)(stating that “Congress enacted the ADA

 ‘to provide a clear and comprehensive national mandate for the elimination of discrimination against

 individuals with disabilities’”)(quoting 42 U.S.C. § 12101(b)(1)); Chambers v. Zesto Enterprises, Inc., 2009

 WL 3200682, at *2 (N.D. Ga. 2009)(explaining that the ADA “is comprehensive legislation which addresses

 discrimination against disabled individuals,” and that “Title II prohibits discrimination by public entities”);

 see also Obert v. The Pyramid, 2005 WL 1009567, at *5 (W.D. Tenn. 2005)(indicating that violations of the

 ADA and ADA regulations are separate legal issues, and explaining that compliance with ADA regulations

 “does not necessarily preclude recovery under the ADA”).



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         Defendant cites Merrell Dow Pharmaceuticals Inc. v. Thompson, 478 U.S. 804 (1986), for the

 proposition that alleging a violation of a federal statute as an element of a state cause of action creates federal

 subject matter jurisdiction. However, Beyers merely references the ADA as an analogy of what she believes

 the standard of care should be for her negligence claim and such an analogy does not create federal

 jurisdiction. See Parker, 225 F.3d at 7 (indicating in an action brought by disabled individual that there is a

 distinction between a “negligence action premised on the violation of a duty owed by a landowner” and a

 claim alleging a violation of Title II of the ADA). The portions of the ADA referenced by Beyers do not

 offer protections to non-disabled persons relating to injuries sustained when a disabled person stumbles into

 them. 42 U.S.C. § 12134 (indicating that Attorney General should promulgate regulations); 28 C.F.R. §

 35.151 (requiring facilities to be made “readily accessible to and usable by individuals with disabilities”).

 Beyers, as a non-disabled person, cannot pursue an ADA claim based on the portions of the ADA referenced

 by Beyers, and Beyers is not asserting that the Village violated the ADA. Instead, Beyers is merely

 referencing the ADA and ADA regulations with regard to a standard of care. Whether the ADA or its

 regulations are a proper source to look to in this case for guidance as to what the proper standard of care

 would be is not for this court to decide. The Village has not shown that this court has subject matter

 jurisdiction. Therefore, the motion to remand is granted.




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